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   12                            CENTRAL DISTRICT OF CALIFORNIA
   13

   14   ADVOCARE INTERNATIONAL, L.P.,                CASE NO. CV 10-07405-JHN (PJWx)
        a Delaware limited partnership,
   15                                                JOINT STATUS REPORT
                    Plaintiff,
   16                                                Trial Date: March 6, 2012
        v.                                           Place:      Courtroom 790
   17                                                The Hon. Jacqueline H. Nguyen
        JESSICA HARDY, an individual,
   18
                    Defendant.
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   22   AND RELATED ACTION.
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    1              Pursuant to this Court’s January 6, 2012 Order Re Motions in Limine and
    2   Proposed Pretrial Conference Order, Plaintiff Jessica Hardy and Defendants Advocare
    3   International, L.P. (“AdvoCare”), and Custom Nutrition Laboratories, LLC (“CNL”),
    4   by and through their undersigned counsel, respectfully submit this Joint Status
    5   Report.
    6   I.         Motions in Limine
    7              The Parties met and conferred in person to discuss the pending motions in
    8   limine and other pretrial matters, including the proposed Joint Pretrial Conference
    9   Order and Joint Trial Exhibit List. With respect to the pending motions in limine,
   10   both sides have agreed to withdraw two of their motions as follows:
   11         •       Defendants have agreed to withdraw their Motion in Limine Nos. 1 and 4;
   12              • Plaintiff has agreed to withdraw her Motion in Limine Nos. 3 and 4.
   13              Additionally, Plaintiff has agreed to the relief sought by Defendants in their
   14   Motion in Limine No. 2. Accordingly, Plaintiff agrees that she will not introduce
   15   evidence, argument or make other reference to Post-Traumatic Stress Disorder
   16   (“PTSD”) nor offer evidence that Plaintiff has been diagnosed with or suffers from
   17   PTSD. Plaintiff reserves her right, consistent with this agreement, to present evidence
   18   of her emotional and psychological damages. Defendants’ Motion in Limine No. 2 is
   19   thus moot and no longer requires a ruling by the Court.
   20   II.        Status of Settlement
   21              In August 2011, the Parties attended a mediation proceeding with Attorney
   22   Settlement Officer Jeff Kichaven, but the Parties were unable to reach a settlement.
   23   Recently, Mr. Kichaven made a “mediator’s proposal” for settlement, but the proposal
   24   was not accepted.
   25              Plaintiff’s Position Regarding Mediation
   26              Plaintiff has been willing to continue with mediation proceedings that would

   27   have a realistic chance of settling the case. Plaintiff, however, did not believe that the

   28   very low offers Defendants made at the initial mediation evinced a realistic effort to
        reach a settlement. Plaintiff has kept Mr. Kichaven apprised of the base-line terms
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    1   that would have a chance of resulting in a settlement, and thus would bring her back
    2   into discussions. Plaintiff understands that Defendants have not agreed to those
    3   terms, so no further mediations have taken place.
    4              Defendants’ Position Regarding Mediation
    5              After the initial mediation session, Defendants proposed that the Parties attend
    6   further mediation proceedings with Mr. Kichaven in an effort to settle the case.
    7   However, Plaintiff refused to attend any further mediation unless Defendants agreed
    8   to make a certain minimum settlement offer. In fact, after the hearing on Defendants’
    9   motions for summary judgment, Plaintiff increased the minimum settlement offer that
   10   she demanded as a prerequisite to mediation by 50%. Defendants would like to
   11   resolve this case and have always been willing to resume mediation, without
   12   conditions.

   13
        Dated: January 31, 2012                    GLASER WEIL FINK JACOBS
   14                                               HOWARD AVCHEN & SHAPIRO, LLP
   15

   16                                              By: /s/ Adam LeBerthon
                                                       Attorneys for Defendant AdvoCare
   17                                                  International, L.P.
   18
        Dated: January 31, 2012                    MORRIS POLICH & PURDY LLP
   19

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   21                                              By: /s/ Marilyn Jager
                                                      Marilyn Jager
   22
                                                      Attorneys for Defendant Custom Nutrition
   23                                                  Laboratories, LLC
   24

   25   Dated: January 31, 2012                    NIXON PEABODY LLP
   26

   27                                              By: /s Eric Strain
                                                      Eric C. Strain
   28
                                                      Attorneys for Plaintiff Jessica Hardy
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